March 05, 2008


Mr. Douglas C. Sikes
Provost * Umphrey Law Firm, L.L.P.
P.O. Box 4905
Beaumont, TX 77704

Mr. Bill Davis
Office of the Attorney General of Texas
Office of Solicitor General
PO Box 12548 (MC 059)
Austin, TX 78711-2548
Mr. Sean D. Jordan
Assistant Solicitor General
PO Box 12548 (MC 059)
Austin, TX 78711-2548

RE:   Case Number:  07-0457
      Court of Appeals Number:  01-04-01084-CV
      Trial Court Number:  20,377-C

Style:      LINDA THOMAS, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF
      THE ESTATE OF DAMON HOLLIMON, DECEASED AND ASHLEY DOMINQUE HOLLIMON,
      INDIVIDUALLY
      v.
      INSTITUTIONAL DIVISION OF THE TEXAS DEPARTMENT OF CRIMINAL JUSTICE
      AND GLENDA PIERSON

Dear Counsel:

      Today the Supreme Court of Texas granted the Agreed  Joint  Motion  to
Abate and issued the enclosed order in the above-referenced cause.
                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Ms. Robyn Flowers      |
|   |Ms. M. Karinne         |
|   |McCullough             |

